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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                      NO: 2:14-CR-21-RMP-28

 8                               Plaintiff,
            v.                                       ORDER GRANTING DEFENDANT’S
 9                                                   MOTION TO MODIFY CONDITIONS
                                                     OF RELEASE AND TO EXPEDITE
10    SEAN L. LAMBERT (28),                          HEARING OF THE SAME

11                               Defendant.

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           BEFORE this Court are Defendant’s fourth Motion to Modify Conditions of
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     Release, ECF No. 1665, and his Motion to Expedite Hearing of the same, ECF
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     No. 1666. This Court has reviewed the record and is fully informed.
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           Defendant argues that the $10,000 lien on his residence is no longer
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     necessary to secure his presence in Court. See ECF No. 1665. Defendant requests
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     that this Court extinguish that interest to enable him to sell the property to a
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     prospective buyer who has already made an offer to purchase the home. See ECF
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     No. 1666. The Government does not object.
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           This Court finds good cause to grant both Motions.
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE AND TO EXPEDITE HEARING OF THE SAME ~ 1
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 1         Accordingly, IT IS HEREBY ORDERED:

 2         1. Defendant’s Motion to Modify Conditions of Release, ECF No. 1665,

 3            and Motion to Expedite Hearing of the same, ECF No. 1666 are both

 4            GRANTED.

 5         2. The Conditions of Release are modified only to the extent that the

 6            requirement of a real property bond is removed.

 7         3. Defendant shall abide by all other Conditions of Release imposed under

 8            ECF No. 429 that are consistent with this Order and have not been

 9            modified by a prior Court Order.

10         The District Court Clerk is hereby directed to enter this Order and provide

11   copies to counsel.

12         DATED this 17th day of September 2015.

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14                                               s/ Rosanna Malouf Peterson
                                            ROSANNA MALOUF PETERSON
15                                         Chief United States District Court Judge

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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE AND TO EXPEDITE HEARING OF THE SAME ~ 2
